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                                     UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                            TAMPA DIVISION

                                           CLERK’S MINUTES

 CASE NO.:         8:20-cr-366-WFJ-SPF                DATE:      October 4, 2022

 HONORABLE WILLIAM F. JUNG
 UNITED STATES OF AMERICA                             GOVERNMENT COUNSEL
                                                      Carlton Curtiss Gammons, AUSA
 v.
                                                      DEFENSE COUNSEL
 SEBASTIEN VACHON-DESJARDINS                          Mark J. O’Brien, Retained
 COURT REPORTER: Tana Hess                            DEPUTY CLERK:           Caleb Houston

                                                      COURTROOM:              15B
 TIME: 11:01 AM – 11:32 AM
 TOTAL: 31 Minutes
                                                      PROBATION:              Tyler Campbell


PROCEEDINGS:             CRIMINAL MINUTES – SENTENCING REFORM ACT MINUTES

Court called to order.

Counsel identified for the record.

Defendant sworn.

Defendant is adjudged guilty on Counts One, Two, Three, and Four of the Indictment.

Government counsel addressed the Court.

Defense counsel addressed the Court.

Imprisonment: TWO HUNDRED FORTY (240) MONTHS. This term consists of a 60-month term as
to Counts One and Four, 120-month term as to Count Three and a 240-month term as to Count
Two. Counts One, Three, and Four are to run concurrently to Count Two.

Supervised Release: THREE (3) YEARS. This term consists of a 3-year term as to Counts One,
Two, Three and Four, all such terms to run concurrently.

Fine is waived.

Restitution: To be determined.

Special Assessment: $400.00 to be paid immediately.
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Special conditions of supervised release:

   1. Defendant shall submit to a search of his person, residence, place of business, any storage units
      under his control, computer, or vehicle, conducted by the United States Probation Officer at a
      reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or
      evidence of a violation of a condition of release. Defendant shall inform any other residents that
      the premises may be subject to a search pursuant to this condition. Failure to submit to a search
      may be grounds for revocation.

   2. Defendant shall be prohibited from incurring new credit charges, opening additional lines of credit,
      or obligating himself/herself for any major purchases without approval of the probation officer.

   3. Defendant shall provide the probation officer access to any requested financial information.

   4. Defendant shall refrain from engaging in any employment related to Information Technology.

   5. Defendant is prohibited from either possessing or using a computer (including a smart phone,
      hand-held computer device, a gaming console, or an electronic device) capable of connecting to
      an online service or an internet service provider.

Defendant is to cooperate in the collection of DNA as instructed by the Probation Officer.

Defendant is remanded to the custody of the US Marshal.

Defendant advised of right to appeal and to counsel on appeal.

Forfeiture ordered by the Court. Forfeiture order entered on October 4, 2022 is made a part of the
Judgment.


               GUIDELINE RANGE DETERMINED BY THE COURT AT SENTENCING


               Total Offense Level               34

               Criminal History Category:        I

               Imprisonment Range                151-188 months

               Supervised Release Range          1-3 years

               Restitution:                      To be determined.

               Fine Range                        $35,000.00 - $250,000.00

               Special Assessment                $400.00

Adjustments/changes to the PSR: Court adjourned.
